                 Case 2:18-cr-00010-TLN Document 52 Filed 04/20/18 Page 1 of 7


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 OWEN ROTH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NOS. 2:17-CR-196; 2:17-CR-219;
                                                         2:17-CR-222; 2:17-CR-234; 2:18-CR-009;
12                                Plaintiff,             2:18-CR-010; 2:18-CR-034; 2:18-CR-035;
                                                         2:18-CR-036; 2:18-CR-037; 2:18-CR-038;
13                          v.                           2:18-CR-044; 2:18-CR-054
14   JUSTIN JOHNSON et al.,                              STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
15                                Defendants.            FINDINGS AND ORDER
16                                                       DATE: April 26, 2018
                                                         COURT: Hon. Troy L. Nunley
17

18                                              STIPULATION

19          1.      This stipulation concerns the thirteen indicted cases noted in the caption, which all arise

20 out of a common investigation. The thirteen cases concern twenty-seven different defendants, who are

21 each identified in connection with their respective counsel in the signature pages of this stipulation.

22          2.      By previous order, each of the thirteen matters was set for status on April 26, 2018.

23          3.      By this stipulation, the Government and counsel for the defendants now move to continue

24 the status conferences to a series of new dates, as follows:

25                  a)     July 19, 2018: 2:17-cr-196; 2:17-cr-219; 2:18-cr-036; 2:18-cr-038

26                  b)     July 26, 2018: 2:17-cr-222; 2:18-cr-009

27                  c)     Aug. 2, 2018: 2:18-cr-044; 2:17-cr-234

28                  d)     Aug. 9, 2018: 2:18-cr-010; 2:18-cr-034; 2:18-cr-035; 2:18-cr-037; 2:18-cr-054

      STIPULATION REGARDING EXCLUDABLE TIME               1
      PERIODS UNDER SPEEDY TRIAL ACT
                Case 2:18-cr-00010-TLN Document 52 Filed 04/20/18 Page 2 of 7


 1         4.      The parties also seek to exclude time between April 26, 2018, and the noted four dates,

 2 per the indictments listed under each date, under Local Codes T2 and T4.

 3         5.      The parties agree and stipulate, and request that the Court find the following:

 4                 a)     As of this stipulation, the Government has produced more than 400 pages of

 5         written discovery to the defendants as a group, as well as 45 DVDs containing audio and visual

 6         surveillance recordings. (Each defendant has also received a copy of his or her criminal history,

 7         if one exists, and a small amount of additional written discovery has been produced to a subset of

 8         defendants.) Going forward, the Government anticipates producing hundreds of additional pages

 9         of discovery, which will include wiretap-related documents pursuant to the Court’s April 12,

10         2018 protective order, and additional DVDs containing wiretap data and additional surveillance

11         evidence.

12                 b)     At this time, the Government understands that the previously appointed

13         discovery-coordination attorney (the “DCA”) is processing the discovery that the Government

14         has produced (as noted in the foregoing paragraph) and making it available to defense counsel.

15                 c)     At this time, Counsel for the defendants desire additional time to review the

16         discovery now being distributed by the DCA. This review will enable counsel to begin

17         reviewing the charges against their respective clients, conduct ancillary research, and consult

18         with their respective clients on how to proceed in their cases.

19                 d)     Counsel for the defendants believe that failure to grant the above-requested

20         continuances would deny them the reasonable time necessary for effective preparation, taking

21         into account the exercise of due diligence.

22                 e)     The government does not object to the continuances.

23                 f)     Based on the above-stated findings, the ends of justice served by continuing the

24         case as requested outweigh the interest of the public and the defendant in a trial within the

25         original date prescribed by the Speedy Trial Act.

26                 g)     Further, given that the discovery in this case arises from a single investigation and

27         is being produced to the twenty-seven defendants in the noted thirteen cases, the Court has

28         previously designated the matter as “complex” for the purpose of providing an exclusion of time

      STIPULATION REGARDING EXCLUDABLE TIME              2
      PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:18-cr-00010-TLN Document 52 Filed 04/20/18 Page 3 of 7


 1          under Local Code T2. The parties submit that the foregoing stipulation provides a continued

 2          basis for such an exclusion.

 3                  h)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 4          et seq., within which trials must commence, the time periods of April 26, 2018 to the dates of

 5          July 19, July 26, August 2, and August 9, 2018, as noted in this stipulation, inclusive, are deemed

 6          excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because they result

 7          from continuances granted by the Court at the defendants’ requests on the basis of the Court’s

 8          finding that the ends of justice served by taking such action outweigh the best interest of the

 9          public and the defendants in speedy trials.

10                  i)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trials must commence, the time periods of April 26, 2018 to the dates of

12          July 19, July 26, August 2, and August 9, 2018, as noted in this stipulation, inclusive, are deemed

13          excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), (ii) because they result from continuances

14          granted by the Court at defendants’ requests on the basis of the Court’s finding that the matters

15          are sufficiently complex that it would be unreasonable to expect adequate preparation absent the

16          exclusions of time.

17          6.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the periods within which trials

19 must commence.

20          IT IS SO STIPULATED.

21 Dated: April 13, 2018                                      MCGREGOR W. SCOTT
                                                              United States Attorney
22

23                                                            /s/ OWEN ROTH
                                                              OWEN ROTH
24                                                            Assistant United States Attorney
25
     For continuance to July 19, 2018:
26
     Dated: April 13, 2018                                    /s/ MATTHEW BOCKMON
27                                                            MATTHEW BOCKMON
                                                              Counsel for Defendant Justin Johnson
28                                                            Case No. 2:17-cr-196

      STIPULATION REGARDING EXCLUDABLE TIME               3
      PERIODS UNDER SPEEDY TRIAL ACT
              Case 2:18-cr-00010-TLN Document 52 Filed 04/20/18 Page 4 of 7


 1
     Dated: April 13, 2018                        /s/ JESSICA GRAVES
 2                                                JESSICA GRAVES
                                                  Counsel for Defendant Erica Umbay
 3                                                Case No. 2:17-cr-219
 4
     Dated: April 13, 2018                        /s/ CHRISTOPHER R. COSCA
 5                                                CHRISTOPHER R. COSCA
                                                  Counsel for Defendant Stephanie Lavan
 6                                                Case No. 2:18-cr-036
 7
     Dated: April 13, 2018                        /s/ TONI LASHAY WHITE
 8                                                TONI LASHAY WHITE
                                                  Counsel for Defendant Daisy Gonzalez
 9                                                Case No. 2:18-cr-038
10
     Dated: April 13, 2018                        /s/ MICHAEL CHASTAINE
11                                                MICHAEL CHASTAINE
                                                  Counsel for Def. Jose Heredia-Trinidad
12                                                Case No. 2:18-cr-038
13
     For continuance to July 26, 2018:
14
     Dated: April 13, 2018                        /s/ SHARI RUSK
15                                                SHARI RUSK
                                                  Counsel for Defendant Aldo Arellano
16                                                Case No. 2:17-cr-222
17
     Dated: April 13, 2018                        /s/ KELLY BABINEAU
18                                                KELLY BABINEAU
                                                  Counsel for Defendant Rachel Felix
19                                                Case No. 2:17-cr-222
20
     Dated: April 13, 2018                        /s/ TASHA P. CHALFANT
21                                                TASHA P. CHALFANT
                                                  Counsel for Defendant Raul Barajas
22                                                Case No. 2:18-cr-009
23

24 Dated: April 13, 2018                          /s/ ALIN CINTEAN
                                                  ALIN CINTEAN
25                                                Counsel for Def. Israel Covarrubias
                                                  Case No. 2:18-cr-009
26

27 Dated: April 13, 2018                          /s/ MICHAEL E. HANSEN
                                                  MICHAEL E. HANSEN
28                                                Counsel for Defendant Milton Escobedo
                                                  Case No. 2:18-cr-009
      STIPULATION REGARDING EXCLUDABLE TIME   4
      PERIODS UNDER SPEEDY TRIAL ACT
              Case 2:18-cr-00010-TLN Document 52 Filed 04/20/18 Page 5 of 7


 1
     Dated: April 13, 2018                        /s/ CLEMENTE JIMENEZ
 2                                                CLEMENTE JIMENEZ
                                                  Counsel for Def. Jose Madrigal-Vega
 3                                                Case No. 2:18-cr-009
 4
     Dated: April 13, 2018                        /s/ PHILIP COZENS
 5                                                PHILIP COZENS
                                                  Counsel for Defendant Victor Magana
 6                                                Case No. 2:18-cr-009
 7
     Dated: April 13, 2018                        /s/ ROBERT M. WILSON
 8                                                ROBERT M. WILSON
                                                  Counsel for Defendant Trevor White
 9                                                Case No. 2:18-cr-009
10
     For continuance to August 2, 2018:
11
     Dated: April 13, 2018                        /s/ SHARI RUSK
12                                                SHARI RUSK
                                                  Counsel for Defendant Michael Do
13                                                Case No. 2:18-cr-044
14
     Dated: April 13, 2018                        /s/ STEPHEN B. PLESSER
15                                                STEPHEN B. PLESSER
                                                  Counsel for Defendant Patrick Botello
16                                                Case No. 2:17-cr-234
17
     Dated: April 13, 2018                        /s/ DAVID M. GARLAND
18                                                DAVID M. GARLAND
                                                  Counsel for Defendant Ashley Habash
19                                                Case No. 2:17-cr-234
20
     Dated: April 13, 2018                        /s/ J. TONEY
21                                                J. TONEY
                                                  Counsel for Defendant Brenda Miranda
22                                                Case No. 2:17-cr-234
23

24 Dated: April 13, 2018                          /s/ DAVID D. FISCHER
                                                  DAVID D. FISCHER
25                                                Counsel for Def. Mercedez Silva-Sims
                                                  Case No. 2:17-cr-234
26

27 Dated: April 13, 2018                          /s/ DINA L. SANTOS
                                                  DINA L. SANTOS
28                                                Counsel for Defendant Ricardo Villa
                                                  Case No. 2:17-cr-234
      STIPULATION REGARDING EXCLUDABLE TIME   5
      PERIODS UNDER SPEEDY TRIAL ACT
              Case 2:18-cr-00010-TLN Document 52 Filed 04/20/18 Page 6 of 7


 1
     Dated: April 13, 2018                        /s/ KYLE R. KNAPP
 2                                                KYLE R. KNAPP
                                                  Counsel for Defendant Joshua Sims
 3                                                Case No. 2:17-cr-234
 4
     For continuance to August 9, 2018:
 5
     Dated: April 13, 2018                        /s/ TODD D. LERAS
 6                                                TODD D. LERAS
                                                  Counsel for Defendant Edgar Jimenez
 7                                                Case No. 2:18-cr-010
 8
     Dated: April 13, 2018                        /s/ CLYDE BLACKMON
 9                                                CLYDE BLACKMON
                                                  Counsel for Defendant James Masterson
10                                                Case No. 2:18-cr-010
11
     Dated: April 13, 2018                        /s/ CANDICE L. FIELDS
12                                                CANDICE L. FIELDS
                                                  Counsel for Defendant Reggie Pajimola
13                                                Case No. 2:18-cr-010
14
     Dated: April 13, 2018                        /s/ KYLE R. KNAPP
15                                                KYLE R. KNAPP
                                                  Counsel for Defendant Joshua Sims
16                                                Case No. 2:18-cr-010
17
     Dated: April 13, 2018                        /s/ TIMOTHY E. WARRINER
18                                                TIMOTHY E. WARRINER
                                                  Counsel for Defendant John Lemus
19                                                Case No. 2:18-cr-034
20

21

22 Dated: April 13, 2018                          /s/ MICHAEL B. BIGELOW
                                                  MICHAEL B. BIGELOW
23                                                Counsel for Defendant Carlos Martinez
                                                  Case No. 2:18-cr-035
24

25 Dated: April 13, 2018                          /s/ ERIN J. RADEKIN
                                                  ERIN J. RADEKIN
26                                                Counsel for Def. Asencion Jimenez
                                                  Case No. 2:18-cr-037
27

28 Dated: April 13, 2018                          /s/ RONALD PETERS

      STIPULATION REGARDING EXCLUDABLE TIME   6
      PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:18-cr-00010-TLN Document 52 Filed 04/20/18 Page 7 of 7

                                                    RONALD PETERS
 1                                                  Counsel for Def. Blas Gonzalez-Ramirez
                                                    Case No. 2:18-cr-054
 2

 3                                      FINDINGS AND ORDER
 4        IT IS SO FOUND AND ORDERED this 19th day of April, 2018.

 5

 6

 7
                                                       Troy L. Nunley
 8
                                                       United States District Judge
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     STIPULATION REGARDING EXCLUDABLE TIME      7
     PERIODS UNDER SPEEDY TRIAL ACT
